
100 N.Y.2d 552 (2003)
CATTARAUGUS CENTRAL SCHOOL BOARD OF EDUCATION, Appellant,
v.
CAROL CASE SIRACUSE, AIA, Defendant, and KIRST CONSTRUCTION, INC., Defendant and Third-Party Plaintiff-Respondent.
TOM GREENAUER DEVELOPMENT, INC., Third-Party Defendant-Respondent.
Court of Appeals of the State of New York.
Submitted March 10, 2003.
Decided June 10, 2003.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as dismissed the third-party complaint, dismissed upon the ground that appellant is not here a party aggrieved (see CPLR 5511); motion for leave to appeal otherwise dismissed upon the ground that the remainder of the order sought to be appealed from does not finally determine the action within the meaning of the Constitution.
